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                       UNITED STATES DISTRICT COURT
6                     WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE
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     PLAINTIFF PACITO; PLAINTIFF                CASE NO. 2:25-cv-255-JNW
8    ESTHER; PLAINTIFF JOSEPHINE;
     PLAINTIFF SARA; PLAINTIFF                  ORDER GRANTING IN PART
9    ALYAS; PLAINTIFF MARCOS;                   PLAINTIFFS’ MOTION TO
     PLAINTIFF AHMED; PLAINTIFF                 ENFORCE THE FIRST
10   RACHEL; PLAINTIFF ALI; HIAS,               PRELIMINARY INJUNCTION
     INC.; CHURCH WORLD SERVICE,                AND EMERGENCY MOTION FOR
11   INC., and LUTHERAN COMMUNITY               SHOW CAUSE HEARING
     SERVICES NORTHWEST,
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                        Plaintiffs,
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            v.
14
     DONALD J. TRUMP, in his official
15   capacity as President of the United
     States; MARCO RUBIO, in his official
16   capacity as Secretary of State; KRISTI
     NOEM, in her official capacity as
17   Secretary of Homeland Security;
     ROBERT F. KENNEDY, JR., in his
18   official capacity as Secretary of Health
     and Human Services,
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                         Defendants.
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1                                  1. INTRODUCTION

2          This matter comes before the Court on Plaintiffs’ Motion to Enforce the First

3    Preliminary Injunction and Emergency Motion for Show Cause Hearing,

4    Dkt. No. 89, and Plaintiffs’ Motion for Emergency Conference or Show Cause

5    Hearing to Address Defendants’ Intent to Re-Suspend USRAP Cooperative

6    Agreements, Dkt. No. 87. Having considered the papers submitted in support of and

7    opposition to the motions, the relevant record, and the argument of counsel, the

8    Court GRANTS IN PART the motions as explained below.

9                                   2. BACKGROUND

10         On February 25, 2025, this Court issued a preliminary injunction followed by

11   a written order days later enjoining Defendants from, among other things,

12   “suspending or implementing the suspension of refugee processing, decisions, and

13   admissions” and “suspending or implementing the suspension of USRAP funds.”

14   Dkt. No. 45 (“First Injunction”) at 61. On March 24, 2025, this Court issued a

15   second preliminary injunction enjoining “Defendants, except for President Trump

16   individually, from enforcing or implementing any portion of Defendants’

17   termination of USRAP-related funding provided to resettlement partners through

18   their cooperative agreements with the U.S. State Department.” Dkt. No. 79

19   (“Second Injunction”) at 36. The Court also ordered Defendants to “reinstate all

20   cooperative agreements terminated pursuant to the Termination Notices to their

21   status as they existed before February 26, 2025.” Id.

22         On March 25, 2025, the Ninth Circuit issued an order denying in part

23   Defendants’ motion to stay the first preliminary injunction, specifically ruling that


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1    “[t]he motion is denied to the extent the district court’s preliminary injunction order

2    applies to individuals who were conditionally approved for refugee status by the

3    United States Citizenship and Immigration Services [USCIS] before January 20,

4    2025.” Pacito v. Trump, No. 25-1313 (9th Cir. Mar. 25, 2025), Dkt. No. 28.

5          Despite this Court’s orders and the Ninth Circuit’s partial denial of a stay,

6    the Government has taken the position that it may suspend cooperative agreements

7    and halt refugee processing for individuals conditionally approved before January

8    20, 2025. Twice now this Court has rejected this interpretation of the Ninth

9    Circuit's stay order. See Dkt. No. 92 at 4–5; Dkt. No. 104 at 7.

10                                    3. DISCUSSION

11         Federal courts have “inherent power to enforce compliance with their lawful

12   orders[.]” California by & through Becerra v. United States Dep’t of the Interior, No.

13   C 17-5948 SBA, 2020 WL 13093994, at *3 (N.D. Cal. July 30, 2020) (quoting

14   Shillitani v. United States, 384 U.S. 364, 370 (1966)). A party who disobeys “a

15   specific and definite court order by failure to take all reasonable steps within the

16   party’s power to comply” risks being held in civil contempt. In re Dual-Deck Video

17   Cassette Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993).

18         The Government argues that this Court lacks jurisdiction to enforce its First

19   Injunction because of the Government’s pending appeal. See Dkt. No. 97 at 7. That

20   is plainly wrong, as “district court[s] retain[ ] jurisdiction during the pendency of an

21   appeal to act to preserve the status quo.” See E. Bay Sanctuary Covenant v. Barr,

22   391 F. Supp. 3d 974, 978 (N.D. Cal. 2019) (quoting Nat’l Res. Def. Council v. Sw.

23   Marine Inc., 242 F.3d 1163, 1166 (9th Cir. 2001)). Preserving the “status quo”


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1    means preserving “the state of affairs at the time the appeal was filed, i.e., the

2    nationwide injunction originally issued by the Court.” Id. (citing Mayweathers v.

3    Newland, 258 F.3d 930 (9th Cir. 2001)). Thus, the Court finds that it has

4    jurisdiction to enforce the portions of its injunction that the Ninth Circuit has not

5    stayed.

6          The record shows that the Government has not complied with the First

7    Injunction as it applies to individuals conditionally approved for refugee status

8    before January 20, 2025. Indeed, the Government has effectively acknowledged its

9    noncompliance through its interpretation of the Ninth Circuit’s partial stay order,

10   suggesting that the “in all other respects” language permits it to suspend processing

11   for all refugees, including those conditionally approved before January 20, 2025. See

12   Dkt. No. 97 at 4–5. As thoroughly explained at this point, the Court rejects this

13   interpretation. See Dkt. No. 92 at 4-5; Dkt. No. 104 at 7. Despite the Ninth Circuit

14   preserving the injunction for this specific population, the Government has not

15   resumed processing their cases. State Department communications indicate that

16   conditionally approved refugees have been informed that “the activities of the

17   Program have been suspended.” Dkt. No. 90-4 at 7–8. Plaintiff CWS has been

18   unable to access the START database necessary for case processing, Dkt. No. 90-2

19   ¶¶ 14–15; cooperative agreements were re-suspended immediately after being

20   reinstated, Dkt. Nos. 86-1, 86-2; and no alternative mechanisms appear to have

21   been established for completing medical examinations, security clearances, or travel

22   arrangements for conditionally approved refugees. These actions have effectively

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1    halted processing, travel, admissions, and resettlement for the population

2    specifically protected by the remaining portion of this Court’s injunction.

3          Thus, the Court finds that additional measures are necessary to ensure

4    Defendants’ compliance with the Court’s orders.

5                                          4. ORDER

6            Accordingly, IT IS HEREBY ORDERED as follows:

7       1. The Court GRANTS IN PART Plaintiffs’ motions to enforce the Court's

8          preliminary injunction orders. Dkt. Nos. 87, 89.

9       2. The Court CONFIRMS that, consistent with the Ninth Circuit’s stay order,

10         Defendants remain enjoined from “suspending or implementing the

11         suspension of refugee processing, decisions, and admissions” and “suspending

12         or implementing the suspension of USRAP funds” for individuals who were

13         conditionally approved for refugee status by USCIS before January 20, 2025.

14      3. Within seven (7) calendar days of this Order, the parties must meet and

15         confer and file a joint status report proposing a schedule for Defendants to

16         come into compliance with the Court’s preliminary injunction orders as they

17         apply to individuals who were conditionally approved for refugee status by

18         USCIS before January 20, 2025. The joint status report must follow the

19         format outlined below:

20               a. Plaintiffs will prepare and circulate a draft joint submission to

21                  Defendants no later than 12:00 p.m. (PST) on Tuesday, April 15, 2025;

22               b. The submission must:

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1                      i. Identify specific compliance measures that Defendants must

2                         undertake to restore “refugee processing, decisions, and

3                         admissions” for individuals who were conditionally approved for

4                         refugee status by USCIS before January 20, 2025;

5                      ii. Propose specific deadlines for each compliance measure,

6                         accounting for the Supreme Court’s guidance to show “due

7                         regard for the feasibility of any compliance timelines”; 1

8                     iii. Propose a reporting schedule for Defendants to provide updates

9                         to the Court on their compliance efforts; and

10                    iv. Address specific obstacles to compliance identified by either

11                        party.

12               c. Defendants must provide their response to Plaintiffs’ draft submission

13                  by 12:00 p.m. (PST) on Thursday, April 17, 2025. If the parties

14                  disagree on any aspect of the compliance schedule, they must clearly

15                  identify their positions on each disputed issue.

16               d. Plaintiffs will file the completed joint submission with the Court by

17                  2:00 p.m. (PST) on Friday, April 18, 2025.

18               e. Each side must limit their portions of the joint submission to no more

19                  than 4,200 words total.

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23   1 Dep’t of State v. AIDS Vaccine Advoc. Coal., 145 S. Ct. 753 (2025).



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1       4. If the parties cannot agree on any aspect of the compliance schedule, the

2          Court will resolve any such dispute in a way that ensures prompt compliance

3          while accounting for practical limitations.

4       5. The Court will hold a status conference as soon as practicable to discuss the

5          joint submission and establish a compliance framework.

6       6. Until the Court issues a compliance-framework order, Defendants are

7          ORDERED to:

8                a. Immediately cease implementation of any suspension of refugee

9                   processing, travel, admissions, and domestic resettlement support for

10                  individuals who were conditionally approved for refugee status by

11                  USCIS before January 20, 2025;

12               b. Immediately resume processing, travel, admissions, and domestic

13                  resettlement support for individuals who were conditionally approved

14                  for refugee status by USCIS before January 20, 2025;

15               c. Immediately cease implementation of any suspension of funding to

16                  USRAP partner agencies, including organizational Plaintiffs, as

17                  necessary to facilitate compliance with the Court’s orders.

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19         Dated this 11th day of April, 2025.

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21                                                   Jamal N. Whitehead
                                                     United States District Judge
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